16-10407-smb         Doc 661       Filed 09/13/19 Entered 09/13/19 13:16:45         Main Document
                                                 Pg 1 of 5


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------x
 In re:                                                            Chapter 7

 TRANSCARE CORPORATION, et al.,                                    Case No.: 16-10407 (SMB)
                                                                   Jointly Administered
                            Debtors.
 --------------------------------------------------------------x
          STIPULATION AND ORDER GRANTING LIMITED RELIEF FROM THE
                   AUTOMATIC STAY AS IT APPLIES TO CARMEN PAGAN

         This Stipulation And Order Granting Limited Relief From The Automatic Stay is made by

 and between Salvatore LaMonica, as Chapter 7 Trustee (the “Trustee”) of the jointly-administered

 estates of TransCare Corporation, TransCare New York, Inc., TransCare ML, Inc., TC Ambulance

 Group, Inc., TransCare Management Services, Inc., TCBA Ambulance, Inc., TC Billing and

 Services Corporation, TransCare Westchester, Inc., TransCare Maryland, Inc., TC Ambulance

 North, Inc. and TransCare Harford County, Inc. (collectively, the “Initial Debtors”) and the interim

 Trustee of the estates of TransCare Pennsylvania, Inc., TC Ambulance Corporation and TC

 Hudson Valley Ambulance Corp. collectively, the “Subsequent Debtors”, along with the Initial

 Debtors are collectively referred to herein as the “Debtors”), and Carman Pagan (“Pagan” and,

 together with the Trustee, the “Parties”), acting by and through their undersigned counsel.

                                                   RECITALS

         A.       On February 24, 2016 (the “Petition Date”), the Initial Debtors each filed voluntary

 petitions for relief under Chapter 7 of title 11 of the United States Code (the “Bankruptcy Code”)

 in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy

 Court”).
16-10407-smb       Doc 661       Filed 09/13/19 Entered 09/13/19 13:16:45          Main Document
                                               Pg 2 of 5


         B.      On February 25, 2016, Salvatore LaMonica was appointed as the interim Chapter

 7 Trustee of the Debtors’ cases, has since duly qualified and is the permanent Trustee administering

 the Initial Debtors’ estates.

         C.      Pursuant to Orders dated March 1, 2016, the Debtors’ cases are being jointly

 administered under case no. 16-10407 (TransCare Corporation).

         D.      On April 25, 2016, each of the Subsequent Debtors filed voluntary petitions for

 relief under chapter 7 of the Bankruptcy Code in the Court.

         E.      Also on April 25, 2016, Salvatore LaMonica was appointed as the interim Chapter

 7 Trustee in each of Subsequent Debtors’ cases has since duly qualified and is the permanent

 Trustee administering the Subsequent Debtors’ estates.

         F.      Pursuant to Order dated June 28, 2016, the Subsequent Debtors’ cases are being

 jointly administered under case no. 16-10407 (TransCare Corporation).

         G.      Prior to the Petition Date, an action was commenced by Pagan in New York State

 Supreme Court, Kings County, against, among others, TransCare Corporation [Index No.

 20517/2013E] (the “Action”).

         H.      Pagan seeks relief from the automatic stay pursuant to Bankruptcy Code § 362(a)

 to permit the prosecution of the Action, but only to the extent of the Debtors’ existing insurance

 coverage insofar as such proceeds are not an asset of the Debtors’ estates or otherwise available to

 the creditor body.

         I.      The Trustee has no objection to the continuation of the Action on the terms and

 conditions set forth herein.
16-10407-smb      Doc 661      Filed 09/13/19 Entered 09/13/19 13:16:45             Main Document
                                             Pg 3 of 5


                                   TERMS AND CONDITIONS

        1.      The automatic stay is hereby modified to permit Pagan to continue the prosecution

 of the Action but only to the extent of the limits of existing insurance coverage that may be

 applicable to the Action, provided, however, that any settlement of the Action, or judgment

 rendered in the Action, may not exceed the applicable limits for any such insurance coverage, and

 provided further that the Trustee shall have no obligation to take part in, spend time on or expend

 any assets of Debtors’ estates in connection with any aspect of the Action including, without

 limitation, appearing as a witness in any conference, hearing or examination or responding to

 discovery requests.

        2.      Pagan hereby waives and releases any and all claims Pagan may have: (a) against

 the Debtors’ estates, whether filed or unfiled, and any right to file a proof of claim for any amount

 in excess of the insurance coverage or any amounts within any insurance deductibles or self-

 insured retentions; and (b) against the Trustee’s and/or Debtors’ insurance carrier(s) for any

 amount in excess of available insurance coverage or any amounts within any applicable insurance

 deductible or self-insured retention.

        3.      Nothing contained in this Stipulation is intended to be or should be construed as an

 admission of liability by the Trustee, the Debtors and/or any of their respective employees named

 in the Action (the “Covered Employees”) with respect to the allegations related to any of the claims

 asserted therein who may be entitled to coverage under any applicable insurance policies, and all

 the rights, claims and defenses of any Covered Employees with respect to the Action are hereby

 expressly reserved.
16-10407-smb       Doc 661      Filed 09/13/19 Entered 09/13/19 13:16:45              Main Document
                                              Pg 4 of 5


         4.      Nothing in this Stipulation is intended to, or does, modify or alter the contractual

 rights and obligations provided for under the terms and provisions of any relevant insurance

 policy(ies).

         5.      Neither this Stipulation nor any actions taken pursuant hereto shall constitute

 evidence admissible against the Parties in any action other than one to enforce the terms of this

 Stipulation.

         6.      This Stipulation shall be binding upon and inure to the benefit of the Parties and

 their respective heirs, successors and assigns, executors, administrators and legal representatives.

         7.      This Stipulation may only be amended or otherwise modified by a signed writing

 executed by the Parties or by further order of the Bankruptcy Court.

         8.      The Parties represent and warrant to each other that the signatories to this

 Stipulation are authorized to execute the Stipulation, that each has full power and authority to enter

 into this Stipulation and that this Stipulation is duly executed and delivered, and constitutes a valid,

 binding agreement in accordance with its terms, provided that, with respect to the Trustee, this

 Stipulation requires approval of the Bankruptcy Court.

         9.      This Stipulation constitutes the entire agreement and understanding between the

 Parties with respect to its subject matter and supersedes all previous or contemporaneous oral or

 written representations, understandings or agreements with respect thereto.

         10.     This Stipulation may be executed in counterparts and each such counterpart

 together with the others shall constitute one and the same instrument, and it shall constitute

 sufficient proof of this Stipulation to present any copy, copies or facsimiles signed by the Party to

 be charged.
16-10407-smb       Doc 661     Filed 09/13/19 Entered 09/13/19 13:16:45             Main Document
                                             Pg 5 of 5


        11.     The Bankruptcy Court shall retain jurisdiction to resolve any disputes or

 controversies arising from or related to this Stipulation.

        12.     This Stipulation shall be governed by the laws of the State of New York and to the

 extent applicable, the Bankruptcy Code without regard to the State of New York’s rules governing

 the conflict of laws.

        13.     This Stipulation shall not be effective until it is so ordered by the Bankruptcy Court.

 Dated: August 5, 2019

        Wantagh, New York               LaMONICA HERBST & MANISCALCO, LLP
                                        Counsel to Salvatore LaMonica, as Trustee

                                By:     s/ Jacqulyn S. Loftin
                                        Jacqulyn S. Loftin
                                        Partner
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                                        Wantagh, New York 11793
                                        Telephone: 516.826.6500

 Dated: August 5, 2019
        Yonkers, New York               LAW OFFICE OF JOHN M. DALY
                                        Attorney for Carmen Pagan

                                By:     John M. Daly
                                        John M. Daly
                                        538 Riverdale Avenue
                                        Yonkers, New York 110705
                                        Telephone: 914.378.1393


 IT IS SO ORDERED on the __ day of September, 2019


 __________________________
 Honorable Stuart M. Bernstein
 United States Bankruptcy Judge
